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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

   In re:                                         §
                                                  §       Case No. 23-10164-smr
   ASTRALABS, INC.,                               §
                                                  §       Chapter 7
             Debtor.                              §

              CHAPTER 7 TRUSTEE’S OBJECTION TO MOTION TO
       RECONSIDER ORDER CONVERTING CASE TO ONE UNDER CHAPTER 7

  TO THE HONORABLE SHAD M. ROBINSON, U.S. BANKRUPTCY JUDGE:

            Randolph N. Osherow, not individually but in his capacity as the duly appointed chapter 7

  trustee (in such capacity, the “Trustee”), for and on behalf of ASTRALABS, Inc. (the “Debtor”)

  and its bankruptcy estate (“Estate”), files this, his Objection (this “Objection”) to the Motion to

  Reconsider Order Converting Case to One Under Chapter 7 [Docket No. 119] (the “Motion”),

  and in support hereof respectfully states as follows:

                                        I.     BACKGROUND

            1.     On March 17, 2023 (the “Petition Date”), the Debtor commenced this case

  (the “Bankruptcy Case”) by filing a voluntary petition for relief under chapter 11, subchapter V,

  of the Bankruptcy Code. The notice parties identified in the voluntary petition include addresses

  but no email addresses or fax numbers.

            2.     No official committee has been appointed in the Bankruptcy Case.

            3.     As of the Petition Date, the Debtor characterized its business as operating “two

  virtual programs – an incubator and an accelerator that provides early-stage founders and

  companies with the tools and skills to build, scale, and fund their startup; upon completion of the

  program, ASTRALABS INC connects its founder customer to investors.” Motion for Authority to

  Use Cash Collateral [Docket No. 4] ¶ 2.



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         4.         On May 30, 2023, the Debtor filed its formal bankruptcy schedules [Docket No. 36]

  (“Schedules”). Therein, the Debtor disclosed total assets approximating $1,716,816.59, and

  essentially comprised of cash, deposits and prepayments, accounts receivable, and office furniture,

  fixtures, and equipment. Schedule A/B, Part 12.

         5.         The Schedules disclose approximately $1,130,000.00 in pre-petition secured

  claims, no pre-petition creditors holding priority claims, and approximately $4,666,437.00 in

  pre-petition general unsecured claims held by approximately two-hundred one (201) creditors.

  Schedule D, No. 3; Schedule E/F, Part 4. The creditor matrix included therewith include addresses

  but no email addresses or fax numbers. See Verification of Creditor Matrix, Schedules, p. 93.

         6.         On May 10, 2023, the United States Trustee (“UST”) filed its Motion to Convert

  Case to a Case Under Chapter 7, or, in the Alternative, Dismiss Case [Docket No. 83]

  (the “1112 Motion”), together with a Motion to Expedite Hearing to consider the 1112 Motion

  [Docket No. 84] (the “1112 Motion to Expedite”).

         7.         The stated grounds under the UST’s 1112 Motion included that the Debtor

  allegedly:

         (1) has insufficient cash on hand and current revenue to pay its expenses, including
         payroll and related expenses, (2) has lost more than sixty of its one hundred
         employees in the past week, (3) dissolved the board of directors and terminated
         multiple executives in the past week, (4) incurred and paid postpetition debt without
         seeking court approval and in violation of the cash collateral order, (5) is attempting
         to raise additional funding without seeking court authority, and (6) deliberately
         omitted assets from its schedules.

  1112 Motion at p. 1.

         8.         Pursuant to the 1112 Motion to Expedite, on May 11, 2023, the Court scheduled a

  hearing to consider the 1112 Motion for May 11, 2023, at 1:30 p.m. (the “1112 Hearing”), at which

  date and time a pending Status Hearing had previously been scheduled by the Court. See Docket

  Nos. 8, 67, 88.


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         9.      The UST duly provided notice of the 1112 Hearing by filing its Notice thereof

  [Docket No. 87] on May 11, 2023, though the Court’s CM/ECF system, which contemporaneously

  provided notice of the 1112 Hearing on all persons receiving notice in the Bankruptcy Case

  through such system and by mailing same on the official mailing matrix provided in the case by

  the Debtor.

         10.     At the 1112 Hearing, the UST participated, along with the Debtor, through Debtor’s

  counsel and its controlling principal and chief executive officer, Andrew Ryan, who appeared on

  behalf of the Debtor and provided sworn testimony. Also participating in the 1112 Hearing was

  Subchapter V Trustee Eric Terry and trade creditor Capitol Vending and Coffee. See Transcript

  of Hearing Held May 11, 2023 [Docket No. 111] (“1112 Hearing Transcript”) at 4:22–23, 5:6–7.

         11.     During the 1112 Hearing, Debtor’s counsel did not raise any due process objection

  or concern with the expediency of the hearing and, in fact, expressed appreciation for “the speed

  at which we were able to get this set today.” 1112 Hearing Transcript at 9:12–13.

         12.     Under express questioning by the Court, Debtor’s counsel also did not deny the

  accuracy of at least some extent of the UST’s relevant allegations and, in fact, indicated a potential

  conflict developing between the Debtor and its counsel:

         It’s tough to say. Some of the allegations have, in fact, occurred. . . . I think I’m
         hard-pressed to say, no, it’s created honestly internally with me and my client.
         There’s a conflict that, depending on how today goes, is the subject for another
         matter.

  Id. at 10:12–18.

         13.     Although Mr. Ryan appeared to complain about the sufficiency of his opportunity

  to prepare for the hearing, he voluntarily requested the opportunity to provide a statement to the

  Court and submitted to questioning, under oath. Id. at 12:12–13:21.




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         14.     The Court may also take judicial notice that, perhaps due to the previously

  scheduled status conference, there were numerous parties in interest present during the

  1112 Hearing (including remotely). No such party raised any objection to the 1112 Motion or

  1112 Hearing based on due process or inadequate notice or otherwise. Indeed, the transcript of

  the hearing reflects that such parties’ participation was essentially confined to unsolicited outbursts

  disputing Mr. Ryan’s testimony or otherwise directed to Mr. Ryan. See id. at 17:15–24, 18:18,

  24:13–14.

         15.     Mr. Ryan’s testimony at the 1112 Hearing confirmed that:

                 a. The Debtor had been unable to meet payroll obligations for
                    approximately two months and lacks sufficient funds (other than the
                    proceeds of unauthorized post-petition financing) to fund payroll;

                 b. The Debtor holds approximately five thousand (5,000) warrants that
                    Mr. Ryan also referred to as securities “options” that it has previously
                    sold (“[W]e’ve only sold a little bit of them . . . We’ve only been able
                    to come back and get about $250,000 like last year with the others.”), as
                    well as stock in a company, and a directors and officers liability
                    insurance policy, none of which were disclosed on the Debtor’s
                    schedules;

                 c. The Debtor had recently experienced a substantial exodus of employees,
                    approximating sixty (60), including but not limited to Mr. Ryan’s
                    termination of the Debtor’s former chief financial officer, and the
                    exodus primarily occurred only one (1) day after Mr. Ryan’s
                    termination of the Debtor’s entire board of directors following a dispute
                    as to which the directors (and apparently, the Debtor’s officers and
                    employees) believed the company should be liquidated while Mr. Ryan
                    insisted on attempting to raise capital to attempt to maintain the Debtor
                    as a going concern;

                 d. As a condition of returning, the departing employees had requested that
                    the Debtor appoint a new CEO instead of Mr. Ryan;

                 e. Mr. Ryan on the Debtor’s behalf had—without this Court’s
                    authorization—solicited and obtained approximately $200,000.00 in
                    post-petition financing proceeds, as to which he had some indication of
                    potential impropriety but determined “we would just have to ask
                    forgiveness for and after the fact”; and



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                 f. Mr. Ryan had, without Court authorization, procured outside, corporate
                    counsel for the Debtor.

  See 1112 Hearing Transcript at 14:11–17:3; 22:7–23:12; 25:3–28:19; 35:21–24; 36:3–38:6;

  43:7–18; 44:10–45:2; 46:3–7; 48:15–49:4; 53:15–54:18.

         16.     Mr. Ryan’s testimony during the 1112 Hearing also included materially

  inconsistent statements:

                 a. He contended that the Debtor did not schedule its warrants, stock, or
                    other assets on the basis that the undisclosed assets have allegedly
                    negligible value but later contended that he instructed the Debtor’s
                    former CFO to disclose all such assets;

                 b. He contended that the bases for his termination of Jack Cartwright (the
                    Debtor’s former CEO) weeks before the 1112 Hearing included the
                    Debtor’s failure to schedule assets in its bankruptcy schedules under
                    Mr. Cartwright’s authority, despite also asserting at the 1112 Hearing—
                    as cited above—that such disclosures of assets allegedly having no
                    market value was unnecessary; and

                 c. He contended that the warrants were unscheduled because they have no
                    value, despite—as noted above—acknowledging having sold at least
                    one such warrant, later acknowledging that the Debtor could sell the
                    warrants and that he had previously disclosed to certain third parties a
                    prior report and analysis obtained by the Debtor that concludes that the
                    warrants, in the aggregate, are worth hundreds of millions of dollars.

  See 1112 Hearing Transcript at 26:9–27:12; 32:23–25; 41:3–43:4; 57:5–22.

         17.     Following the hearing, the Court announced and detailed its ruling and

  determination to convert the case to Chapter 7, under which the Court identified multiple factors

  and considerations constituting cause for conversion, including without limitation, that:

                 a. The Debtor lacks sufficient funds to continue satisfying payroll and
                    corresponding, post-petition wage claims;

                 b. The Debtor had recently experienced a substantial exodus of
                    approximately sixty (60) employees over the course of the two weeks
                    prior to that hearing;

                 c. Mr. Ryan had terminated the Debtor’s entire board of directors,
                    including due to their collective position—in opposition to Mr. Ryan—


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                      that the Debtor should be liquidated rather than attempting to continue
                      operating as a going concern, including in connection with dismissal of
                      the case;

                   d. The Debtor had failed to comply with orders of this Court, including the
                      Debtor’s unauthorized use of cash collateral and “the Debtor operating
                      without disclosure and without Court authority on fundraising and
                      soliciting new investors and borrowing and repaying money and things
                      of that nature”;

                   e. Based on the foregoing, that the Debtor has engaged in misconduct, and
                      the Court further concluded that, as a result, conversion of this case and
                      appointment of a Chapter 7 Trustee will protect the interest of the
                      creditors; and

                   f. The particular circumstances of the Bankruptcy Case and Estate indicate
                      potentially significant assets for the Trustee to administer and liquidate
                      for the benefit of the Estate’s creditors, including receivables,
                      intellectual property, the warrants, stock interests, causes of action, the
                      directors and officers liability insurance policy, and other personal
                      property.

  See 1112 Hearing Transcript at 87:18–96:23.

         18.       On May 12, 2023 (the “Conversion Date”), the Court entered its Order [Docket

  No. 89] converting the Bankruptcy Case to chapter 7, discharging the subchapter V trustee, and

  appointing the Trustee as the interim trustee to oversee the administration and management of the

  Debtor’s Estate. The meeting of creditors pursuant to section 341 of the Bankruptcy Code is

  currently scheduled to be conducted on June 16, 2023. See also 11 U.S.C. § 702.

         19.       On May 18, 2023, Thomas Dolezal, Matthew Kelly, and Casey Melcher

  (collectively, the “Movants”) filed their initial Motion to Reconsider Order Converting Case to

  One Under Chapter 7 [Docket No. 104] (the “First Motion to Reconsider”), asking the Court, on

  an expedited basis, to vacate or amend the Conversion Order in favor of the requested alternative

  of dismissal. See First Motion to Reconsider ¶ 17. See also Docket No. 105 (“Movants’ Motion

  to Expedite”).




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             20.   The sole bases set forth in the First Motion to Reconsider are allegations that: (i) the

  expedited WebEx hearing conducted on the same day that notice of the hearing was provided was

  disjointed, chaotic, and “marred by WebEx participants talking over other people who were

  speaking and the police apparently being called to the location where the Debtor’s principal,

  Andrew Ryan, was located”; (ii) there was only one witness at the hearing, Mr. Ryan, who

  appeared to be unprepared; (iii) creditors and parties-in-interest were denied the opportunity to

  participate in the 1112 Hearing; (iv) a majority of creditors prefer dismissal over conversion; and

  (v) the principal asset of the Estate is the warrants, which may only be marketed by a qualified

  investment banker. First Motion to Reconsider ¶¶ 8, 12–16.

             21.   The sole basis for expedited consideration sought under the related Movants’

  Motion to Expedite was that, “If the motion is not heard promptly, the Chapter 7 trustee will begin

  administering the assets of the estate to the detriment of the creditors.” Movants’ Motion to

  Expedite, ¶ 2. Despite requesting a prompt hearing on the basis of alleged cause, the Movants’

  Motion to Expedite also states that, “Movants wish to avoid having a hearing on one day’s notice.”

  Id. ¶ 3.

             22.   On May 19, 2023, the Court granted the Movants’ Motion to Expedite, scheduled

  a hearing to consider the First Motion to Reconsider, on an expedited basis, for May 24, 2023, and

  pursuant to party discussions amended the hearing date to May 23, 2023. See Docket No. 110.

             23.   Despite having sought expedited consideration of the First Motion to Reconsider

  filed on May 18, 2023, counsel for the Movants stated in response to the Court’s proposed May 23,

  2023 hearing correspondence that, “I am available but would be uncomfortable with getting ready

  that soon.” 1


  1
      E-mail correspondence from S. Sather to J. Lopez, et al., dated May 19, 2023.



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         24.     Subsequently, following the UST’s objection to the First Motion to Reconsider, the

  Movants requested the UST’s and Trustee’s consent to allow them to continue the hearing, and

  after the UST refused to provide its consent, the Movants—with the UST’s and Trustee’s

  consent—withdrew the First Motion to Reconsider, without prejudice. See Movants’ Stipulation

  of Dismissal [Docket No. 115].

         25.     Meanwhile, following the Trustee’s appointment, he has undertaken and continues

  to zealously pursue substantial efforts to transition custody of the Estate’s assets, records, and

  corresponding administration, including, without limitation: (i) surrendering the Debtor’s

  pre-petition headquarters premises to the lessor and moving to reject same in addition to a related

  executory contract with Refreshment Services LLC for its provision of related office services and

  goods (see Docket Nos. 129, 130); (ii) transitioning the Estate’s deposit funds to the Trustee’s

  account, obtaining bank account records, and closing the Debtor’s prior bank accounts;

  (iii) investigating, reviewing, and evaluating the Estate’s warrants, customer contracts, pre-petition

  business operations, financial history, and related regulatory matters; (iv) consulting with

  Mr. Ryan, creditors, former customers, warrant issuers, stockholders, former officers and

  employees, potential purchasers and sale agents, and with other interested parties; and

  (v) formulating, negotiating, and pursuing agreements for the retention of consultants, potential

  service providers, potential sale agents, special litigation counsel on a proposed contingency basis

  (subject to this Court’s authorization) to investigate and pursue potential Estate causes of action

  against the Debtor’s former officers and directors and controlling persons, as well as potential

  other special counsel.




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          26.     On May 26, 2023, the Movants and Hasan Ugur Koyluoglu 2 (re-)filed their Motion

  to Reconsider Order Converting Case to One Under Chapter 7 [Docket No. 119] (the “Motion”)

          27.     In the Motion, the Movants allege that the Debtor has over 230 creditors, as to

  which “almost all of the significant creditors wish to weigh in regarding the appropriateness of

  dismissal versus conversion.” Motion ¶ 10. The Motion further alleges that many of these

  creditors have signed statements supporting dismissal rather than conversion and further that “the

  Debtor has secured commitments from a majority of its creditors to forebear from collections while

  the Debtor restarts its business if the case is dismissed” but provides no specific details of any such

  constituency. Id. ¶¶ 10–11.

          28.     Again, the Motion contends that the principal asset of the Estate consists of the

  warrants and alleges that “it is unclear that the Trustee is able to administer these assets in a way

  that maximizes value for all stakeholders.” Id. ¶ 12.

          29.     As alleged bases for the relief sought under the Motion, the Movants allege

  pursuant to Fed. R. Civ. P. 60(b) that: (i) the UST did not provide reasonable notice of the

  1112 Hearing, thereby violating principles of due process; (ii) the UST allegedly, insufficiently

  investigated the bases for the 1112 Motion, only served it by mail, and allegedly acted on

  information from a recently terminated employee or officer “and from a few disgruntled

  employees”; and (iii) the Conversion Order should be reconsidered in order to provide the Movants

  with the opportunity to lodge their untimely objections on the basis of the doctrine of “excusable

  neglect.” Id. ¶¶ 14–21.

          30.     The Motion also proceeds under Fed. R. Civ. P. 59, under which the Movants assert

  that the Conversion Order was manifest error for the same reasons as articulated above: that they


  2
      Hereinafter, “Movants” expressly includes Hasan Ugur Koyluoglu.



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  were not afforded a due opportunity to oppose the 1112 Motion. Id. ¶¶ 22–23 (“[T]he Movants

  were denied the right to prepare for the hearing and because of this believe that creditor and

  stakeholder value was destroyed by the U.S. Trustee’s misguided motion and the Court’s hasty

  hearing.”).

                  II.    OBJECTIONS AND SUPPORTING AUTHORITIES

  A.     Applicable Law

         31.     Subject to certain limitations and exceptions not applicable here, Federal Rule of

  Civil Procedure 59 applies in bankruptcy cases pursuant to Federal Rule of Bankruptcy

  Procedure 9023, and so too does Federal Rule of Civil Procedure 60 pursuant to Federal Rule of

  Bankruptcy Procedure 9024.

         32.     Under Rule 9023, the Court may grant a new trial or alter or amend a judgment if

  requested within fourteen (14) days.

         33.     Rule 59 / Rule 9023 do not specify any detailed standard to be utilized by the Court

  in evaluating such a request, but as the Movants concede, it is well-established that granting a

  Rule 59 motion “is an extraordinary remedy and should be used sparingly.” In re Pequeño, 240

  Fed. App’x 634, 636 (5th Cir. 2007) (quoting Templet v. HydroChem Inc., 367 F.3d 473, 479

  (5th Cir. 2004)).

         34.     A motion for reconsideration should be limited to the correction of manifest errors

  of law or fact or situations where there is newly discovered evidence. In re Transtexas Gas Corp.

  v. TransTexas Gas, 303 F.3d 571, 581 (5th Cir. 2002); Cosgrove v. Bartolotta, 150 F.3d 729, 732

  (7th Cir. 1998) (“[T]he only grounds for a Rule 59(e) motion . . . are newly discovered evidence,

  an intervening change in the controlling law, and manifest error of law.”). “It is well-known that

  Rule 59(e) motions ‘cannot be used to raise arguments which could, and should, have been made

  before the judgment was issued.’” In re Baribeau, 603 B.R. 797, 802 (Bankr. W.D. Tex. 2019)


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  (quoting Simon v. United States, 891 F.2d 1154, 1159 (5th Cir. 1990)); see also Pro Edge L.P. v.

  Gue, 377 F. Supp. 2d 694, 698–99 (N.D. Iowa 2005) (citations omitted) (“Rule 59(e) motions

  ‘serve the limited function of correcting manifest errors of law or fact or to present newly

  discovered evidence.’ . . . Importantly, Rule 59(e) motions cannot be used to ‘introduce new

  evidence, tender new legal theories, or raise arguments which could have been offered or raised

  prior to entry of judgment.’”).

         35.     A party cannot invoke Rule 59 to reargue matters that were available to the party

  originally or to assert new theories or arguments on the same facts. See, e.g., Wallace v. Brown,

  485 F. Supp. 77, 78 (S.D.N.Y. 1979) (“[W]here the moving party had remained silent during the

  trial about matters it subsequently presented in its motion to amend factual findings, respondents

  may not seize a second opportunity now to present arguments they neglected to advance during

  this trial.”); Smithrud v. City of St. Paul, 746 F.3d 391, 397 (8th Cir. 2014) (quoting United States

  v. Metro. St. Louis Sewer Dist., 440 F.3d 930, 933 (8th Cir. 2006)) (holding that Rule 59 motions

  are limited to either “correcting manifest errors of law or fact or to present newly discovered

  evidence.”).

         36.     The time periods available under Rule 59 are more stringent than under Rule 60,

  but requests for reconsideration of or for relief from a prior order under Rule 60 / Rule 9024 are

  more narrowly defined.      Cf. Fed. R. Civ. P. 59(a)(1) and (e); Fed. R. Civ. P. 60(b), (c).

  Accordingly, “[i]f a motion for reconsideration is filed within fourteen days of the judgment or

  order of which the party complains, it is considered to be a Rule 59(e) motion; otherwise, it is

  treated as a Rule 60(b) motion.” In re Garrett-Beck Corp., No. 09-37774, 2012 WL 3727318,

  at *3 (Bankr. S.D. Tex. Aug. 27, 2012) (citing Shepherd v. Int’l Paper Co., 372 F.3d 326, 328 n.1

  (5th Cir. 2004)).




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         37.     Under Rule 60, the sole cognizable bases for relief are: (i) mistake, inadvertence,

  surprise, or excusable neglect; (ii) newly discovered evidence that, with reasonable diligence,

  could not have been discovered in time to move for a new trial under Rule 59(b); (iii) fraud

  (whether previously called intrinsic or extrinsic), misrepresentation, or misconduct by an opposing

  party; (iv) the judgment is void; (v) the judgment has been satisfied, released, or discharged; it is

  based on an earlier judgment that has been reversed or vacated; or applying it prospectively is no

  longer equitable; or (vi) any other reason that justifies relief. See Fed. R. Civ. P. 60(b).

         38.     Here, the Motion proceeds solely under subsections (b)(1) and (b)(3) of Rule 60 /

  Rule 9024. Motion ¶¶ 14–21.

  B.     The Motion Should be Denied Because Movants Cannot Establish a Failure of Due
         Process

         39.     Under the Motion, an alleged failure of due process is the sole basis for the

  Movants’ allegation that the Conversion Order constitutes manifest error within the scope of

  Rule 59, as well as for asserting that “misconduct” has occurred within the contemplation of

  Rule 60(b)(3). See Motion ¶¶ 14–23.

         40.     However, the Movants have failed to identify in their allegations any procedural

  rule that the UST, the Court, or any party violated in connection with the 1112 Motion that would

  even remotely justify relief. There is no such violation. The most that the Movants can allege is

  that under due process, notice must be reasonably calculated, under the particular circumstances,

  to afford interested parties the opportunity to present their positions. Motion ¶ 16.

         41.     From this predicate, the Movants proceed to allege that they did not receive actual

  notice of the 1112 Hearing until the day after it was conducted. Nowhere do the Movants address

  what specific action the UST took or omitted that was not reasonably calculated under the

  particular circumstances other than to falsely allege that the UST served the Motion only by mail.



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  As this Court well knows and can judicially notice, the 1112 Motion was filed through the Court’s

  CM/ECF system, which contemporaneously transmits electronic notice to all persons receiving

  notice through such system. The Petition Date was March 17, 2023. Accordingly, almost three (3)

  full months elapsed in the case during which parties could appear through the CM/ECF system

  and receive instantaneous notice. Therefore, the UST did serve the 1112 Motion electronically on

  parties-in-interest.

          42.     The Movants do not allege that the UST should have employed any alternate mode

  of service of the 1112 Motion or violated any procedural rule in submitting that motion and seeking

  an expedited hearing thereon, nor can they. The UST is limited to what disclosures in the case

  have been made by the Debtor identifying parties-in-interest and their contact information. The

  official docket of the Bankruptcy Case does not reflect any disclosure by the Debtor of creditor

  e-mail addresses or any request to authorize notice by e-mail or any alternate mode of service that

  the Debtor sought while it was still a debtor-in-possession. Indeed, when the Movants filed and

  served their First Motion to Reconsider and Movants’ Motion to Expedite, they served their

  motions only on approximately ten to twelve (10–12) parties and did not certify having served

  their requests on creditors of the Estate generally, despite alleging general creditor support (and

  forbearance agreements) therein. Such conduct belies the authenticity of the Movants’ present

  complaints.

          43.     Moreover, the 1112 Hearing Transcript reveals that issuers of warrants (i.e., former

  customers of the Debtor) apparently have generally not received formal notice of this case due to

  the fact that the Debtor did not generally disclose or schedule the warrants and their issuers in the

  Debtor’s bankruptcy schedules or mailing matrix, and the Trustee has since learned that the Debtor

  has, upon information and belief, thousands of stockholders who also have not received notice of




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  the Bankruptcy Case, because the Debtor’s stock ledger is in such disarray that it cannot presently

  be relied upon. These service issues cannot be blamed on the UST, but rather, they rest at the feet

  of the Debtor to whom the Movants seek the return of control over the Debtor’s business, assets,

  and operations. Accordingly, the Movants cannot establish that the UST did not attempt to provide

  notice that was reasonably calculated to reach parties-in-interest, as the UST employed the notice

  procedures that were available to it under the particular circumstances.

         44.     Moreover, at the 1112 Hearing, as cited above, the Debtor appeared and argued in

  favor of dismissal but did not object to or complain about expedited consideration or the timing of

  the hearing. In fact, the Debtor thanked the Court for convening the hearing as soon as possible.

  The UST’s 1112 Motion to Expedite includes a certificate of conference under which the UST

  recites the Debtor’s and the Subchapter V Trustee’s consent to expedited consideration.

  1112 Motion to Expedite ¶ 3.

         45.     Given these considerations, contrary to the Movants’ assertions, the determination

  to conduct the 1112 hearing on May 11, 2023, was not based on any intention to limit notice or

  participation, but rather, was intended to promote the maximum possible extent of creditor

  participation by proceeding at the same time as a general status conference had been set in the case

  on normal notice, when the Court, Estate, and parties knew the major parties-in-interest were

  available and had the best chance of creditors and other parties-in-interest being present. See

  1112 Motion to Expedite, ¶ 6 (referencing all parties’ availability for May 11, 2023, at 1:30 p.m.—

  the same setting as the pre-existing status conference).

         46.     Therefore, the Movants cannot identify any valid basis to challenge the procedures

  and proceedings utilized by the UST and Court which led to the expedited 1112 Hearing. Unable

  to provide notice to creditors other than by mail or through the CM/ECF system, the UST conferred




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  with what parties it could, including the debtor-in-possession as fiduciary to the Estate, obtained

  the Debtor’s consent, and sought and procured an appropriate hearing setting from the Court that

  was clearly intended to maximize participation.

  C.      The Motion Fails to Dispute Any of the Bases Identified by the Court as Cause to
          Convert

          47.     Here, the sole argument mounted by the Movants is that there was no genuine

  emergency justifying expedited consideration, but this baseless argument is belied by established

  facts that the Movants do not bother addressing in their Motion at all. They do not address the

  undisputed fact that at the time of conversion the Debtor had woefully insufficient funds—other

  than the proceeds of unauthorized financing efforts—to make payroll that exceeded $220,000.00

  every two weeks at the time of conversion. They do not address the admitted fact that the Debtor

  could not sustain its directors and officer liability policy, as evidenced by the fact that the Debtor’s

  pre-petition premium financing lender, AFCO Credit Corporation (“AFCO”), has moved for relief

  from the automatic stay in order to cancel its premium financing agreement and its underlying

  policy collateral. See Docket No. 127. They do not address the fact that the Debtor defaulted on

  paying its May 2023 rent owed to its headquarters lessor, in excess of $50,000.

          48.     Taken together, the Debtor and the Estate’s obvious, established inability to sustain

  administrative expenses required for their continued stay in chapter 11 plainly gave rise to an

  exigent circumstance justifying the Court’s expedited consideration in order to protect employees

  and other post-petition creditors of the Estate (which in turn is necessary to protect the interests of

  pre-petition creditors generally). A debtor’s business that cannot pay its administrative expenses

  cannot remain in Chapter 11. See, e.g., In re Fleetstar LLC, 614 B.R. 767, 781 (Bankr. E.D. La.

  2020) (quoting In re BH S & B Holdings, LLC, 439 B.R. 342, 349 (Bankr. S.D.N.Y. 2010))




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  (“Although section 1112(b)(4) does not list administrative insolvency as a cause to convert or

  dismiss a chapter 11 case, a court may still consider this factor.”).

         49.     Even were the foregoing not compelling, there are numerous additional aspects of

  the Court’s ruling, findings and conclusions justifying conversion that the Movants and Motion do

  not address at all. These include findings regarding the Debtor’s knowing violations of the

  Bankruptcy Code in seeking (and procuring) unauthorized post-petition financing, violation of the

  Court’s cash collateral order, and the extremely troubling exodus of substantial employees and the

  recent termination of the entirety of the Debtor’s board of directors by Mr. Ryan due to their

  disagreements over the continued viability of the Debtor’s business. “One ground . . . is sufficient,

  standing alone, to establish cause under the statute.” In re M & C P’ship, LLC, No. 19-11529,

  2021 WL 1679058, at *9 (Bankr. E.D. La. Apr. 28, 2021) (quoting In re Colon Martinez (B.A.P.

  1st Cir. 2012)).

         50.     Perhaps understanding that these overwhelmingly compelling considerations

  indisputably justify relief, the Movants do not contend that the Court should not have granted the

  UST’s 1112 Motion, but rather, that the Court should reconsider that relief and order dismissal in

  the best interests of creditors and based on the general allegation that creditors support dismissal

  rather than conversion.

         51.     However, these same findings, conclusions, and rulings are materially incompatible

  with any proposal to return control of the Debtor and its assets and business to Mr. Ryan, who the

  Court has already found is generally responsible for substantial of the circumstances leading to the

  entry of the Conversion Order. “When parties disagree on conversion or dismissal, as they do

  here, the court evaluates the alternatives, and chooses the alternative that would be most

  advantageous to the estate as a whole.” In re Fleetstar LLC, 614 B.R. at 782 (quoting In re




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  Hampton Hotel Invs., L.P., 270 B.R. 346, 359 (Bankr. S.D.N.Y. 2001)). It is simply daft to assert

  that it is in the best interests of creditors and the Estate as a whole to return custody of the business

  and assets to the same individual who is responsible for violations of Court orders and federal law,

  including but not limited to nondisclosure of significant assets, and for the extremely troubling,

  recent wave of employees, executive, and director departures and terminations.

  D.      The Allegation that the Estate’s Constituencies Support Dismissal is Wholly
          Unsupported and Must be Proven

          52.     Based on the foregoing, the Movants cannot establish any mistake, manifest error

  in law or fact, fraud, or misconduct implicated by the Conversion Order, nor can they establish

  that the Order has been satisfied or is void for a failure of due process, or otherwise. Therefore,

  the Movants’ sole argument is to allege overwhelming support from the Estate’s creditors for

  dismissal, because this additional, arguably “newly discovered evidence” is the sole cognizable

  basis for relief articulated under the Motion. However, the Motion nevertheless fails because it

  does not identify any actual “newly discovered evidence”; only a wholly unsupported allegation.

          53.     The Movants allegation of widespread creditor support is not accompanied by any

  documentation or support whatsoever. It seems obvious that the Debtor cannot pay all claims in

  the Estate in the reasonably near future, and this fact is further supported by the allegation in the

  Motion that the Movants have procured forbearance agreements from a majority of creditors for

  the Debtor’s benefit. No party has appealed the Court’s Conversion Order and the time to appeal

  has since expired. Since the Motion was filed, no additional creditors have joined in it or filed any

  other support, nor is there any documentation of the supposed forbearance agreements. In any

  event, “the test for what is in the ‘best interests of creditors and the estate’ is not one of majority

  rule.’” In re Fleetstar LLC, 614 B.R. at 781 (citing In re Superior Siding & Window, Inc., 14 F.3d

  240, 243 (4th Cir. 1994)). Even if all creditors supported dismissal, the Movants cannot overcome



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  the Court’s prior finding that conversion better serves the interests of creditors and the Estate. Of

  course, all creditors do not support dismissal, as evidenced by AFCO seeking to cancel its premium

  financing agreement and the Debtor’s insurance coverage.

          54.    Moreover, under the particular circumstances of this case, it appears that the Estate

  may, in fact, prove solvent, due to the potential, collective value of the warrants and the total

  universe of claims scheduled by the Debtor. Accordingly, the Estate includes stockholders as well.

  See, e.g., Franchise Servs. of N. Am. v. United States Trs. (In re Franchise Servs. of N. Am.), 891

  F.3d 198, 208 n.7 (5th Cir. 2018) (“Shareholders are the residual claimants of the estate, see

  11 U.S.C. § 726(a)(6), entitled only to whatever remains after payment of the various secured and

  unsecured creditors.”); Boyer v. Crown Stock Distrib., 587 F.3d 787, 797 (7th Cir. 2009)

  (explaining that, under § 726(a)(7), “the debtor” refers to the debtor’s right to any estate surplus

  while the estate remains open but that, upon closing of the estate, “should all the unsecured

  creditors of [the debtor] be paid in full the only other potential claimants to any surplus money in

  its estate will be the original shareholders.”); Renco Grp., Inc. v. Wilmington Trust, N. A. (In re

  Magnesium Corp. of Am.), 583 B.R. 637, 650 (Bankr. S.D.N.Y. 2018) (holding that equity interest

  holders have standing with interests in a bankruptcy case once a surplus is established and stating

  that “an equity holder . . . —which under Bankruptcy Code section 726(a)(6) falls at the bottom

  of the priority distribution scheme—lacks standing to object to claims against the estate unless

  there is a reasonable possibility of a surplus.”). Here, especially with the Movants contending that

  proceeds from the liquidation of the warrants outside of bankruptcy are likely to be sufficient to

  pay all claims in full and reach equity holders, dismissal of the case is also inappropriate unless

  the Movants can demonstrate the overwhelming support of the Debtor’s minority stockholders as

  well.




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           55.    Considering the particular facts and circumstances of this case, the ability of the

  Movants to prove that all creditors either will be reliably paid in full in connection with dismissal

  of the case, or otherwise consent to dismissal (including shareholder consent in the case of a

  potentially solvent estate), is critical. This is because the requested relief would return the Estate’s

  assets and the Debtor’s business back to the Debtor under Mr. Ryan’s authority; the same Debtor

  and controlling person whose conduct established the unreliability that led to the Conversion Order

  in the first instance. “Considering that dismissal would give an insider and competing creditor the

  reins on the assets of the estate, including avoidance actions, at this point, creditors’ best hope for

  recovery is through conversion.” In re Fleetstar LLC, 614 B.R. at 789. “For obvious reasons, the

  interests of the creditor body as a whole are likely better served by the bankruptcy process, where

  claims are entitled to prima facie validity and the resolution of disputed claims is overseen by a

  disinterested chapter 7 trustee and the court.” In re Biolitec, Inc., 528 B.R. 261, 271 (Bankr. D.N.J.

  2014).

           56.    Indeed, the Conversion Order expressly provides that “Debtor shall within 14 days

  after the effective date of conversion, comply with the requirements of Bankruptcy

  Rule 1019(5)(A)(i), and, within 30 days, file the final report and account required by Bankruptcy

  Rule 1019(5)(A)(ii).” Conversion Order, p. 2. See also Fed. R. Bankr. P. 1019. Despite this,

  following entry of the Conversion Order, Debtor’s counsel has informed the Trustee that Mr. Ryan

  declines to assist the Debtor in performing these duties or presenting a witness at the upcoming

  section 341 meeting of creditors. This brazen disregard of the Debtor’s duties and refusal to assist

  the Debtor in complying with the Court’s Order is yet further indication that dismissing the case

  and returning control over the Debtor and its assets and business to Mr. Ryan would not be in the

  best interests of the Estate and its creditors (and/or other constituencies). See, e.g., In re Capra,




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  614 B.R. 291, 299 (Bankr. N.D. Ill. 2020) (“[P]rotecting the best interests of the estate includes

  protecting the bankruptcy process under which the estate is administered. . . . If the Court were to

  permit a debtor who has systematically abused the bankruptcy process to walk away from all

  consequences of that misconduct, the Court should expect that other debtors will take note and

  conclude that filing false schedules and [acting] without court authorization is a risk-free

  alternative to obeying the rules.”).

                                         III.   CONCLUSION

         WHEREFORE, the Trustee respectfully requests this Court’s entry of an Order denying

  the Motion, with prejudice, and granting such other and further relief as the Court may deem just

  and proper.

  Dated: June 15, 2023                                 Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         The undersigned hereby certifies that, on the 15th day of June 2023, he personally caused
  true and correct copies of the foregoing pleading to be served by electronically filing it with the
  Court using the Court’s CM/ECF system, which sent notification to the parties receiving same
  through such system. A true and correct copy of the pleading was specifically served on the
  following party via electronic mail, and on the parties shown on the attached service list, via first
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Label Matrix for local noticing       ASTRALABS Inc of 30                 U.S. BANKRUPTCY COURT
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Western District of Texas
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            23-10164-smr Doc#134 Filed 06/15/23 Entered 06/15/23 11:34:52 Main Document Pg 27
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90419 Nuremberg                          London SE1 0UH                             Neratovice
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New Growth Brands, Inc.                  Nic Hickox                                 Nicholas J. Hickox
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979 Springdale Rd. Suite #123
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Nvzn Augmented Reality Corp.             ORDEREZ PTE LTD                            Ok Away Pty Ltd
2549 Waukegan Rd                         12020 Shamrock Plz Ste 200 PMB 93169       Level 21
PMB 10024                                Omaha, NE 68154-3537                       55 Collins Street
Bannockburn, IL 60015-1569                                                          Melbourne Victoria AUSTRALIA
            23-10164-smr Doc#134 Filed 06/15/23 Entered 06/15/23 11:34:52 Main Document Pg 28
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Pneumeric, Inc.                       Prismatext Inc                    Proc12 Inc.
Attn: Johnathon Aho                   800 W 10th Ave                    9601 Ridge Walk Court
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Spencer Diner                         Stephen Berger                                 Stephen Berger
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San Francisco, CA 94107-9105          New York, NV 10001-3009                        Bankruptcy & Collections Division
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